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            IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

NEIL WALKER,                       )
AIS #095197,                       )
                                   )
     Plaintiff,                    )
                                   )
     v.                            ) CIV. ACTION NO. 2:17-CV-591-RAH
                                   )
JEAN DARBOUZE, et al.,             )
                                   )
     Defendants.                   )

                                  ORDER

      On August 4, 2020, the Magistrate Judge entered a Recommendation (Doc.

45) to grant summary judgment in favor of the Defendants. The Plaintiff filed

Objections. (Doc. 48.)   After an independent review of the file and upon

consideration of the Recommendation and Objections, it is ORDERED that:

      1.    The Objections are OVERRULED. (Doc. 48.)

      2.    The Recommendation of the Magistrate Judge is ADOPTED. (Doc.

            45.)

      3.    The Defendants’ Motion for Summary Judgment (Doc. 27) be

            GRANTED.

      4.    Judgment be GRANTED in favor of the Defendants.

      5.    This case be DISMISSED with prejudice.
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 6.   Costs be taxed against the Plaintiff.

DONE, this 23rd day of September, 2020.


                                 /s/ R. Austin Huffaker, Jr.
                          R. AUSTIN HUFFAKER, JR.
                          UNITED STATES DISTRICT JUDGE




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